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AO 245B     (Rev. 9/00) Judgment in Criminal Case
            Sheet 2    Imprisonment

                                                                                             Judgmenl- Page _ _2 _ of          4
DEFENDANT: CYNTHIA RODRIGUEZ-AGUILAR (2)
CASE NUMBER: llCR1344-WQH
                                                            IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          12 months and 1 day as to each count concurrently and consecutive to 09CR3347-mlYlA­



   o Sentence imposed pursuant to Title 8 USC Section 1326(b).
   o The court makes the following recommendations to the Bureau of Prisons:

   o The defendant is remanded to the custody of the United States Marshal.
   o The defendant shall surrender to the United States Marshal for this district:
           Oat                                      Oa.m.    Op.m.        on
              as notified by the United States Marshal.

   o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
      o
      o as notified by the United States Marshal.
          o   as notified by the Probation or Pretrial Services Office.


                                                               RETURN

I have executed this judgment as follows:

      Defendant delivered on                                                      to

at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                           U}ijTEDSTATES~RSHAL



                                                                     By _______~~~~~~~~~~__------­
                                                                                       DEPUTY UNITED STATES MARSHAL




                                                                                                                  llCR1344-WQH
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